Entered: October 24th, 2017
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Signed: October 24th, 2017

SO ORDERED




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Greenbelt

        In Re:                                               *
        Natieya Davis                                        *     Case No.      17-24030-WIL
                                                             *     Chapter       7
                                                             *
                                                             *
                               Debtor(s).                    *

                              ORDER DENYING THE DEBTOR(S)' APPLICATION
                                 FOR WAIVER OF CHAPTER 7 FILING FEE
                               AND DIRECTING DEBTOR TO PAY FILING FEE

              Upon consideration of the Debtor(s)' Application for Waiver of the Chapter 7 Filing Fee, it is,
       by the United States Bankruptcy Court for the District of Maryland,

                 ORDERED, that a waiver of the Chapter 7 filing fee is DENIED; and it is further

               ORDERED, that the Debtor(s) shall pay the Chapter 7 filing fee of the above captioned case
       in full within fourteen (14) days of the date of this order.


              IT IS FURTHER ORDERED, that until filing fee is paid in full, the Debtor(s) shall not make any
       additional payment or transfer any additional property to an attorney or any other person for services in
       connection with this case; and it is further

       NOTE: Pursuant to Local Bankruptcy Rule 1006!1(a), the Clerk will only accept payment from Debtor(s) in
       the
       form of cash, cashier's check, certified check, negotiable money order, or a check drawn on the account of
       Debtor(s)' attorney of record. Payments should be made payable to Clerk, U.S. Bankruptcy Court.
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cc:    Debtor(s)
       Debtor(s)' Counsel - Pro Se
       Chapter 7 Trustee - Merrill Cohen
       U.S. Trustee



                                           End of Order

FilingFee-23.13 - 11/28/11 modified/rhegerle
